                   IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                             SOUTHERN DIVISION
                            No. 7:19-CV-191-H

STEPHANIE S. THEROUX,                   )
     Plaintiff,                         )
                                        )
        v.                              )
                                        )
ALORICA, INC., REBECCA                  )                     ORDER
CROCCO, JONATHAN BOWLING,               )
TRACI CHILDS, CHESTER
TAYLOR, JOHN DOE, and SUSAN
DOE,
     Defendants.


     This      matter    is   before    the    court    on    frivolity     review.

Plaintiff initiated this action by filing an application to proceed

in forma pauperis (IFP) and proposed complaint.                 On September 29,

2020, United States Magistrate Judge Kimberly A. Swank entered an

Order    and   a    Memorandum    and   Recommendation         (“M&R”)     ordering

plaintiff’s        IFP   motion   be    granted        and   recommending        that

plaintiff’s complaint be dismissed be dismissed as frivolous or

for failure to state a claim upon which relief may be granted.

     Plaintiff filed an objection to the M&R.                    [DE #10.]        The

objections     in   reality    repeat   many    of     the   allegations    of    the

complaint, but still do not allege a plausible Title VII violation.



         The court has carefully reviewed the M&R, objections, and

other documents of record. The court finds the objections to be



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without merit and that the recommendation of Magistrate Judge Swank

is, in all respects, in accordance with the law and should be

approved.

     Additionally, as to plaintiff’s attempted retaliation claim,

plaintiff has not alleged facts upon which relief could be granted.

There is no allegation of any protected activity occurring prior

to any alleged retaliatory conduct.          Even if the court could

construe any of the alleged conduct as adverse, plaintiff’s EEOC

charge was filed after the alleged conduct at issue.

     Accordingly,   the   court   ADOPTS   the   recommendation      of   the

magistrate judge as its own and hereby DISMISSES all claims.

     The Clerk is DIRECTED to close this case.

            This 20th day of October 2020.




                           __________________________________
                           Malcolm J. Howard
                           Senior United States District Judge

At Greenville, NC
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